      Case 2:24-cr-00105-WBV-JVM Document 49 Filed 06/18/24 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                                                 g
 UNITED STATES OF AMERICA                                     CRIMINAL NO. 24-IO5

                v                                *            SECTION: (D'(1)

 JOVANNA R. GARDNER                              ,s



                                          J      J       J<




                                        FACTUAL BASIS

       The defendant, JOVANNA R. GARDNER, has agreed to plead guilty. Should this

matter proceed to trial, the United States would prove beyond a reasonable doubt, through

credible testimony and reliable evidence, the following facts. Unless stated otherwise, the

following acts occurred within the jurisdiction of the Eastern District of Louisiana.

       GARDNER was in a romantic relationship with Ryan J. Harris ("Harris") that began

sometime around 2017. Harris owned an automobile repair shop and purchased automobiles at

auction. Harris intentionally staged collisions between automobiles so he and others could file

fraudulent insurance claims based on the collisions. Harris recruited GARDNER to assist in his

staged accident scheme. GARDNER was involved in several of Harris's fraudulent insurance

claims that were based on the staged collisions. Harris also intentionally staged collisions

between automobiles and commercial vehicles, including 18-wheeler tractor trailers. Harris

recruited others, including friends and family members, to participate in staged collisions for the

purpose of filing fraudulent insurance claims and fraudulent lawsuits.

       Attomey A was an attorney in the New Orleans area. Co-Conspirator B worked closely

with Attorney A. Co-Conspirator B had previously been an attomey but had been disbarred.

Individuals who visited Attorney A's office and interacted with Co-Conspirator B believed that

Co-Conspirator B was an attorney. Harris was close with Attorney A and Co-Conspirator B, and

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      Case 2:24-cr-00105-WBV-JVM Document 49 Filed 06/18/24 Page 2 of 4




he directed individuals involved in staged collisions to Attorney A's office for representation in

lawsuits that Harris, Attorney A, and Co-Conspirator B knew were fraudulent. Attorney A and

Co-Conspirator B paid Harris for staging collisions and directing individuals involved in staged

collisions to Attorney A's office.

       Comelius Garrison staged collisions and directed individuals involved in staged

collisions to Attorney A's office in exchange for payment from Attomey A and Co-Conspirator

B. In September 2020, a federal grand jury in the Eastern District of Louisiana charged Garrison

with various counts of fraud related to the staged collisions. Around that time, Harris told

GARDNER that Garrison was cooperating with a federal criminal investigation into the staged

collisions. Harris told GARDNER that "the lawyers" wanted Harris to pay Garrison so Garrison

would not cooperate with the federal criminal investigation. Harris told GARDNER that "the

lawyers" had given him Garrison's home address and that he needed GARDNER to text

message Garrison using the cell phone Harris gave her. GARDNER understood that "the

lawyers" were Attorney A and Co-Conspirator B. Harris instructed GARDNER to use a false

name when text messaging Ganison. Harris also told GARDNER that he would be going to visit

Garrison to offer Garrison money in order to persuade Garrison to stop his cooperation with

federal agents regarding fraudulently staged collisions. Harris told GARDNER that it was

necessary to use the false name because Harris and the lawyers were worried that Garrison may

not agree to meet otherwise. GARDNER believed she was setting up a meeting between Harris

and Garrison for this purpose. Harris did not tell GARDNER that he would commit violent acts

against Garrison.

         GARDNER followed Harris's instructions and text messaged Garrison using the cell

phone Harris gave her and a false name. GARDNER believed she was assisting Harris in


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      Case 2:24-cr-00105-WBV-JVM Document 49 Filed 06/18/24 Page 3 of 4




convincing Garrison to not cooperate with the federal criminal investigation. Later that evening,

Garrison was murdered at his mother's home. Following the murder, Harris visited GARDNER

and admitted that he had killed Garrison. Harris threatened GARDNER that, if she told anyone

about the murder, he would kill her. Over the next several years, Harris made similar threats to

GARDNER that he would kill or harm her if she told anyone about Garrison's murder.




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      Case 2:24-cr-00105-WBV-JVM Document 49 Filed 06/18/24 Page 4 of 4




                                  Limited Nature of Factual Basis

       This proffer of evidence is not intended to constitute a complete statement of all facts

known by GARDNER, and it is not a complete statement of all facts described by GARDNER

to the government. Rather, it is a minimum statement of facts intended to prove the necessary

factual predicate for her guilty plea. The limited purpose of this proffer is to demonstrate that

there exists a sufficient legal basis for GARDNER'S plea of guilty to the charged offense.




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Trial Attorney




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Defendant




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